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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

UNITED STATES OF AMERICA

Vv.

Case No. 21-cr-623 (CRC)
KIRSTYN NIEMELA,

 

Defendant.

 

VERDICT FORM

Count One: Entering or Remaining in a Restricted Building or Grounds

x

Guilty Not Guilty

Count Two: Disorderly or Disruptive Conduct in a Restricted Building
x»
Count Three: Disorderly Conduct in a Capitol Building
X
Guilty Not Guilty
Count Four: Parading, Demonstrating, or Picketing in a Capitol Building

_X

Guilty Not Guilty

Dated this Xe day of _. lain , 2023

FOREPERSON
